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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 Michael Kascsak,                          §
                                           §
                 Plaintiff,                §
                                           §
 v.                                        §          No. 1:23-cv-1373-DII
                                           §
 Expedia, Inc., and                        §
 Michael Davis Velasco,                    §
                                           §
                 Defendants.               §

                            DEFENDANTS’ OBJECTION
                      TO THE REPORT AND RECOMMENDATION




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                                         I.      INTRODUCTION
         Defendants Expedia, Inc. and Michael Davis Velasco respectfully object to the Magistrate

Judge’s Report and Recommendation’s (“Report”) finding that Plaintiff Michael Kascsak

(“Kascsak”) has “adequately pleaded a claim under 42 U.S.C. § 1981” and recommendation that

“Kascsak’s Section 1981 claims should not be dismissed.” Dkt. 19 at 10-14.

         This recommendation is squarely at odds with this Court’s decision last year in Hopkins

v. Wayside, where the Court held that a plaintiff who asserts multiple reasons for an adverse em-

ployment action (as Kascsak does here) fails to adequately plead that race is a but-for cause of

that employment action and, thus, fails to state a valid claim for race discrimination under Sec-

tion 1981. See Hopkins v. Wayside Sch., No. 1:21-CV-0334-RP, 2023 WL 5186881, at *6 (W.D.

Tex. Aug. 11, 2023) (on appeal) (“Hopkins does not claim race was a but-for cause of his injury;

he claims that he was fired at least partially because of his alleged whistleblowing activities.

Therefore, he has not sufficiently pled a § 1981 claim, and the Court will grant Wayside’s motion

[to dismiss] as to that claim.”).

         Although the Magistrate Judge recommends adopting a new interpretation of Section

1981, Defendants respectfully ask that this Court follow its prior holding in Hopkins, and dismiss

Kascsak’s Section 1981 claim.

                                           II.    ARGUMENT
         There is no dispute that the Supreme Court’s seminal decision in Comcast sets forth the

controlling law governing the “but-for” causation standard under Section 1981. The Comcast

opinion explained that for a plaintiff to satisfy this “but-for" standard, the plaintiff “must initially

plead and ultimately prove that, but for race, it would not have suffered the loss of a legally pro-

tected right.” Comcast Corp. v. Nat'l Ass’n of Afr. Am.-Owned Media, 589 U.S. 327, 341 (2020).

         In his Report and Recommendation, the Magistrate Judge attempts to answer this ques-

tion by reasoning that: “Had Kascsak been Black instead of white, he would have been a ‘di-

verse’ candidate and therefore would have been hired, or so Kascsak alleges . . . Accordingly,
Kascsak’s race was a but-for cause of his injury. That is true even if his age or sex were also but-

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for causes of his injury.” Dkt. 19 at 14.

         Respectfully, that finding was in error. Plaintiff has filed claims against Expedia for dis-

crimination on the basis of race (Counts 1, 2, and 3) and on the basis of gender (Counts 4 and 5).

By asserting both of these claims, Kascsak cannot satisfy the Comcast causation test because he

is necessarily alleging that, even if he had been Black instead of white, he still would not have

been hired by Expedia because Defendants allegedly discriminated against him on the basis of

gender as well. As this Court held in Hopkins, by asserting multiple grounds for discrimination,

Kascsak cannot show that race was the “but-for” cause of his alleged injury and thus cannot sat-
isfy the Comcast test. Hopkins, 2023 WL 5186881, at *6.

         The Magistrate Judge correctly observed that several courts, including this Court, have

held that when a plaintiff claims to have suffered an adverse employment action because of his

race and other attributes or reasons, the plaintiff fails to allege that he would not have suffered

that adverse action “but for” his race. Dkt. 19 at 11–12. Nonetheless, the Magistrate Judge chose

to depart from these cases and now recommends that this Court depart from its own precedent.

Id. at 15. In reaching his decision, the Magistrate Judge relied heavily on Leal v. McHugh, 731

F.3d 405 (5th Cir. 2013) and Bostock v. Clayton Cnty., Georgia, 590 U.S. 644 (2020). Dkt. 19 at

13-14. Neither of these cases, however, are apposite because neither involved Section 1981, the

relevant statute here.

         Leal v. McHugh involved a claim under the Age Discrimination in Employment Act

(“ADEA”), and specifically, the Fifth Circuit’s attempt to apply the Supreme Court’s then-recent

opinion in Gross v. FBL Fin. Services, Inc., 557 U.S. 167, 169 (2009), a case about the correct

burden of proof under the ADEA. Leal’s statements regarding but-for causation under the ADEA

are dicta for two reasons: (1) Leal involved a federal sector claim, and the Fifth Circuit declined

to decide whether “a plaintiff must prove but-for causation or some lesser standard,” and more

importantly, (2) the court acknowledged that Gross and its progeny “concern a plaintiff’s ulti-

mate proof burden in ADEA claims, not the pleading burden.” 731 F.3d 412, 415 (5th Cir. 2013).



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         In contrast, the Supreme Court in Comcast expressly held under Section 1981: “To pre-

vail, a plaintiff must initially plead and ultimately prove that, but for race, it would not have suf-

fered the loss of a legally protected right.” Comcast, 589 U.S. at 341(emphasis added). Leal has

not been cited by any court (other than by the Magistrate Judge in the Report) in addressing

Comcast’s but-for pleading standard under Section 1981—because under Gross1 and Leal there is

no “but-for” pleading standard at all. This Court should not rely on Leal and should look instead

to Comcast and Hopkins, cases interpreting the specific pleading requirements of Section 1981.

Under those cases, it is clear that Kascsak cannot meet his burden.

         Bostock, as well, is inapposite because it addressed a claim under Title VII, to which the

Court expressly limited its holding. See Bostock, 590 U.S. at 680-83. And as the Supreme Court

held in Comcast, Title VII and Section 1981 are different statutes with different backgrounds and

standards that cannot be applied interchangeably:

         Title VII was enacted in 1964; this Court recognized its motivating factor test in
         1989; and Congress replaced that rule with its own version two years later. Mean-
         while, §1981 dates back to 1866 and has never said a word about motivating fac-
         tors. So we have two statutes with two distinct histories, and not a shred of evi-
         dence that Congress meant them to incorporate the same causation standard.”
See Comcast Corp. v. Nat'l Ass'n of African Am.-Owned Media, 589 U.S. 327, 337 (2020).

          Courts have thus expressly distinguished Bostock as limited to Title VII claims in finding

that allegations of multiple alleged reasons for a discriminatory action fail to adequately plead a

claim under Section 1981. See, e.g., Arora v. Nav Consulting Inc., No. 21 C 4443, 2022 WL

7426211, at *3 (N.D. Ill. Oct. 13, 2022). Indeed, post-Bostock, courts across the country have

held, and continue to hold, that pleading multiple non-race-based reasons for the alleged discrim-

inatory action is insufficient to support a Section 1981 claim. See, e.g. Defendants’ Motion, Dkt.

12 at 13; Walker v. Bank of Am., N.A., No. 21-CV-03589, 2024 WL 989391, at *5 (N.D. Ill. Mar.

7, 2024) (dismissing the plaintiff’s Section 1981 claim, finding that the allegation that “greed,

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  As noted by the Fifth Circuit in Leal, “the question presented to the Gross Court was whether a
plaintiff must present direct evidence of discrimination in order to obtain a mixed-motive jury
instruction.” Leal, 731 F.3d at 411 (citing Gross, 557 U.S. at 169-70).

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jealousy and race” were the reason for the alleged discriminatory actions did not sufficiently al-

lege race as the “but-for” cause).

         In sum, Kascsak, like the plaintiff in Hopkins, “bears the burden of showing that race was

a but-for cause of his injury.” 2023 WL 5186881, at *6. And like the plaintiff in Hopkins,

Kascsak “does not claim race was a but-for cause of [his] injury” because he claims that he was

injured when Expedia allegedly discriminated against him on the basis of gender. Id. In other

words, Kascsak’s complaint fails the Comcast test because he is necessarily alleging that, had he

been Black instead of white, Expedia still would not have hired him because it also allegedly dis-
criminated against him on the basis of gender.

         Accordingly, the Court should not adopt the Magistrate Judge’s Report and Recommen-

dation with respect to Kascsak’s Section 1981 Claim, and that claim should be dismissed.2

                                        III.   CONCLUSION
         For the reasons set forth above, Defendants thus respectfully urge the Court to follow its

prior decision in Hopkins and dismiss Kascsak’s Section 1981 claim.

Dated: April 5, 2024.




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  Defendants note that Kascsak has objected to certain “factual errors” in the Report and Recom-
mendation relating to his Section 1981 claim. Dkt. 21 at 8. For the sake of clarity, Defendants
will address Kascsak’s attempts to “correct the Report’s deficiencies” in a forthcoming response
to his objection. See Id. at 1.

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                                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE
      I certify that on April 5, 2024, I served a copy of the foregoing on the parties listed below
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